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4
     Attorney for Defendant
5    Son Nguyen
6
                     IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                      )   Case No. Cr.S-08-390 GEB
     UNITED STATES OF AMERICA,         )
10                                     )   STIPULATION AND PROPOSED ORDER
                Plaintiff,             )   CONTINUING STATUS
11                                     )
          vs.                          )   Date: November 5, 2010
12                                     )   Time: 9:00 AM
                                       )   Court: GEB
13   SON NGUYEN,                       )
     TUY NGUYEN                        )
14                                     )
                Defendant              )
15

16
                       STIPULATION TO CONTINUE HEARING
17
          Pursuant to agreement between the parties it is hereby
18

19   stipulated that hearing in the above referenced matter be

20   continued to November 5, 2010 at 9:00 AM.

21        The basis for this request is that defense counsel are

22   continuing to review discovery with their clients and are in

23   active plea negotiations with the government.
24        IT IS FURTHER STIPULATED that the period from August 6,
25
     2010, (the date set for the status conference) through and



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     including November 5, 2010, be excluded in computing the time
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     within which trial must commence under the Speedy Trial Act,
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     pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
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4    continuity and preparation of counsel.

5

6    DATED: August 4, 2010,                   Respectfully submitted

7

8                                             /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
9                                             Attorney for Son Nguyen
10
     IT IS SO STIPULATED
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12

13   /S/MICHAEL BECKWITH, Esq.,
     Michael Beckwith, Esq.,                       Dated: August 4, 2010
14   Assistant United States Attorney
     Attorney for Plaintiff
15

16   /S/MICHAEL B. BIGELOW, Esq.,                  Dated: August 4, 2010,
     Michael B. Bigelow
17   Attorney for Defendant
     Son Nguyen
18

19
     /S/DAVID W. DRATMAN, Esq.,                    Dated: August 4, 2010
20
     David W. Dratman, Esq.,
     Attorney for Defendant
21   Tuy Nguyen

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                                          ORDER
1
                  IT IS ORDERED: that pursuant to stipulation the above
2
     referenced matter shall be continued until November 5, 2010 at
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4    9:00 PM, and time excluded for the reasons set forth above.

5    8/4/10

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                                      GARLAND E. BURRELL, JR.
7                                     United States District Judge
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